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                         IN THE UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

         MARYLAND SHALL ISSUE,                          )
         INC., et al.,                                  )
                                                        )
               Plaintiffs,                              )
                                                        )        No. 23-1719
               v.                                       )
                                                        )
         MONTGOMERY                    COUNTY,          )
         MD,                                            )
                                                        )
               Defendant.                               )

                   PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
              DEFENDANT’S MOTION TO HOLD APPEAL IN ABEYANCE

              Pursuant to Rule 27 of the Federal Rules of Appellate Procedure, plaintiffs-

        appellants respectfully submit this opposition to defendant-appellee’s motion to hold

        this case in abeyance, filed on December 19, 2023, by the appellee, Montgomery

        County, Maryland (“the County”). For the reasons set forth below, the County’s

        motion to hold this appeal in abeyance should be denied.

              A. Statement of the Case

              This appeal is limited to the Second Amendment claim set forth in Count VII

        of the Second Amended Complaint. That claim essentially alleges that the County

        has effectively banned carry of firearms by persons who have been issued a wear

        and carry permit by the Maryland State Police through County Bill 21-22E, which

        amended Chapter 57 of the County Code. Count VII specifically seeks injunctive

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        and declaratory relief as well as “compensatory damages, including nominal

        damages, for the foregoing violations of their Second Amendment rights.” See

        Second Am. Compl., ¶ 158, Co. Ex. A at 78 (citing Uzuegbunam v. Preczewski, 141

        S.Ct. 792 (2021)).

              The district court below denied a preliminary injunction on that Second

        Amendment claim and plaintiffs appealed. The appeal is fully briefed and was

        initially scheduled for oral argument for January 23, 2023, prior to being sua sponte

        continued by the Court. The County contends that the Court should hold this appeal

        in abeyance while the County appeals the adverse November 27, 2023, decision of

        the Montgomery County Circuit Court on the purely State law claims set forth in

        Counts I-III of the Second Amended Complaint. That decision held, inter alia:

              In the court's view, and as counsel for the County conceded at oral argument,
              the County wanted, among other things, to largely eliminate the State granted
              right to wear and carry a firearm in the County, even when the individual held
              a State issued concealed carry permit. Chapter 57, as intended by the County,
              effectively bans the concealed carry of a firearm in Montgomery County
              outside of one’s home or business, effectively nullifying a State granted right
              to those who have applied for and received a concealed carry permit by the
              Maryland State Police.

        Slip op. at 15, Co. Ex. F (emphasis added). The Court thus granted summary

        judgment for plaintiffs, holding:

              [T]he comprehensive and intertwined scheme of existing State regulation
              preempts Montgomery County's efforts, through Chapter 57, to place
              additional legal hurdles on wear and carry permit holders, State licensed
              firearms dealers and privately made firearms. Section 4-209(b) simply does

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              not allow a county effectively to nullify nearly all other State firearms rights
              and restrictions, at least not in the manner attempted in this instance.

        Id. at 18. Plaintiffs have stressed the point that the County’s law effectively bans

        carry throughout the County by permit holders in their brief filed with this Court.

        See Br. of Appellants at 42-48. In its brief, the County has ignored the argument and

        has thus effectively conceded the point, as it did expressly at oral argument in State

        court. Count VII alleges that Bill 21-22E unconstitutionally denies plaintiffs and

        other permit holders the “general right” to carry in public recognized in NYSRPA v.

        Bruen, 597 U.S. 1 (2022).

              B.     The State Appellate Proceedings Cannot Affect The Ultimate
                     Resolution Of This Case

              The County has filed a notice of appeal of the Circuit Court’s ruling to

        Maryland’s Appellate Court (Maryland’s intermediate court of appeals) and now

        seeks to stay proceedings in this Court under Local Rule 12(d) on grounds that the

        County’s appeal “may affect the ultimate resolution” of this appeal and that

        “[j]udicial economy weighs in favor of this appeal being held in abeyance pending

        the outcome of the appeal of the Circuit Court’s decision in Maryland’s appellate

        courts.” Cnty. Mot. at 4–5. Those contentions are both factually and legally wrong.

              First, holding this case in abeyance will not “affect the ultimate resolution of

        this appeal” because a state court ruling on the State law issues on Counts I-III of

        the Second Amended Complaint will not assist in the resolution of the Second

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        Amendment issue presented in Count VII at issue on this appeal. The legal issues

        are entirely distinct. Count I alleges that the County’s law is not a “local law” under

        Article XI-A, § 3 of the Maryland Constitution. Count II alleges that the County’s

        law is contrary to Maryland’s Express Powers Act, MD Code, Local Government, §

        10-206, which bans local laws that conflict with or are inconsistent with State law.

        Count III alleges that the County’s law constitutes a “Taking” under Article III, § 40

        of the Maryland Constitution and Article 24 of the Maryland Declaration of Rights.

        Count VII, before this Court on this appeal, alleges that the County’s law violates

        the Second Amendment. Nor does the injunction accorded by the State court on the

        State claims eliminate the necessity for injunctive relief in this case. Should the

        Maryland appellate courts rule in favor of the County, the plaintiffs would then be

        left without the protection of an injunction during the time it would take to get this

        appeal argued and decided.

              Moreover, there is no possibility that a decision on the State claims could moot

        the Second Amendment claim because plaintiffs have expressly sought

        compensatory damages and nominal damages on that Second Amendment claim.

        Second Am. Compl., ¶ 158, Co. Ex. A at 78. The Supreme Court has made clear that

        that “[a]s ‘long as the parties have a concrete interest, however small, in the outcome

        of the litigation, the case is not moot.’” Chafin v. Chafin, 568 U.S. 165, 172 (2013),

        quoting Knox v. Serv. Emps. Intern. Union, Local 1000, 567 U.S. 298, 307–08

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        (2012). In Uzuegbunam v. Preczewski, the Supreme Court held that “[d]espite being

        small, nominal damages are certainly concrete” and thus a claim for nominal

        damages is, alone, sufficient to render a claim “not moot.” 141 S. Ct. 792, 801–02

        (2021). In short, holding this case in abeyance will do nothing but pointlessly delay

        the resolution of the Second Amendment claim.

              Second, the County’s attempt to delay these proceedings is simply a repeat of

        the same attempt at delay the County tried and failed to obtain in district court.

        Specifically, in August of 2022, the County removed this entire case to federal

        district court under 28 U.S.C. § 1441, and then requested “that the state law claims

        in Counts I, II, and III again be remanded to state court and that the federal claims

        be stayed and held in abeyance.” MSI v. Montgomery Co., No. 21-1736, slip op. at

        6 (Co. Ex. B). The district court rejected that stay request, noting that “examination

        of the federal claims may still be necessary going forward.” Id., slip op. at 11. The

        court further explained:

              Although it would be arguably more efficient to await the resolution of the
              state law claims in order to assess whether it would result in a narrowing of
              the issues to be decided, the Court is cognizant of the fact that regardless of
              whether it is intentional, the practical effect of the County's proposed
              resolution of the Motion is to delay or circumvent Plaintiffs’ ability to have
              their federal claims considered. When such constitutional rights are at issue,
              such delay is not justified based solely on issues of judicial economy.

        Id. The same considerations obtain here on the County’s renewal, in this Court, of

        the same abeyance request rejected by the district court. As explained above, judicial

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        economy is not served by holding this case in abeyance. The delay sought by the

        County is simply delay for the sake of delay. As the district court held, federal

        constitutional rights cannot be treated so cavalierly.

              C.     Abeyance Would Be Contrary To Equitable Principles

              Plaintiffs do not dispute that the Court has inherent authority to manage its

        docket, but that power is not without limitations. See Landis v. N. Am. Co., 299 U.S.

        248, 255 (1936) (“[T]he suppliant for a stay must make out a clear case of hardship

        or inequity in being required to go forward, if there is even a fair possibility that the

        stay for which he prays will work damage to some one else.”); Williford v.

        Armstrong World Industries, Inc., 715 F.2d 124, 127–28 (4th Cir. 1983) (sustaining

        a refusal to stay proceedings pending resolution of another case, holding “proper use

        of this [stay] authority ‘calls for the exercise of judgment which must weigh

        competing interests and maintain an even balance’” and that “[t]he party seeking a

        stay must justify it by clear and convincing circumstances outweighing potential

        harm to the party against whom it is operative”), quoting Landis, 299 U.S. at 254–

        55. See also Steel Erectors, Inc. v. J.A. Jones Const. Co., 865 F.2d 255 (Table), 1988

        WL 1318 at *2 (4th Cir. 1988) (requiring the movant “to justify the requested stay

        by clear and convincing circumstances that outweighed the potential harm to

        [another party] against whom the stay would operate”); Belize Social Development

        Ltd. v. Gov’t of Belize, 668 F.3d 724, 732–33 (D.C. Cir. 2012), cert. denied, 568

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        U.S. 882 (2012) (on a writ of mandamus, applying Landis and reversing a stay as

        unjustified by any “pressing need”). The County has not asserted that a stay of this

        appeal is necessary to avoid any “hardship” or “inequity” much less established such

        matters by “clear and convincing” evidence. The appeal has been fully briefed and

        all that remains is oral argument.

              It is likewise well-established that this Court generally does not have the

        authority to refuse to adjudicate a claim otherwise within its jurisdiction. See Mata

        v. Lynch, 576 U.S. 143, 150 (2015) (“[W]hen a federal court has jurisdiction, it also

        has a ‘virtually unflagging obligation ... to exercise’ that authority.”) (citation

        omitted). Accord Wash. Gas Light Co. v. Prince George’s Cnty. Council, 711 F.3d

        412, 418 (4th Cir. 2013). See also Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 81-

        82 (2013) (“[O]ur dominant instruction that, even in the presence of parallel state

        proceedings, abstention from the exercise of federal jurisdiction is the ‘exception,

        not the rule’”) (citation omitted); Jonathan by Dixon v. Justice, 41 F.4th 316, 328-

        29 (4th Cir. 2022) (discussing Sprint); Ewell v. Toney, 853 F.3d 911, 916-17 (7th

        Cir. 2017) (reversing abstention order). And the County does not even argue that any

        of the limited exceptions to that general duty apply here.

              In sum, Count VII cannot be mooted by State proceedings on Counts I-III.

        There is likewise no unclear issue of state law that would be “dispositive” of the

        constitutionality of Bill 21-22E under the Second Amendment or could otherwise

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        moot this case. As noted above, the County “conceded” in the State court

        proceedings that Bill 21-22E effectively eliminated the right of permit holders to

        carry in the County by creating thousands of often-interlocking 100-yard

        exclusionary zones that made carry impossible as a practical matter and the County

        does not contest that point before this Court. Holding this appeal in abeyance is (1)

        unsupported, (2) pointless, and (3) prejudicial to the proper and prompt adjudication

        of plaintiffs’ constitutional rights.

                                            CONCLUSION

               The County’s motion to hold this appeal in abeyance should be denied.

                                                        /s/ Mark W. Pennak
                                                        __________________________
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                                                        /s/ Matthew Larosiere
                                                        __________________________

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               Dated: December 22, 2023
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                                   CERTIFICATE OF COMPLIANCE

              Pursuant to Rule 27(d) and Rule 32(g)(1) of the Federal Rules of Appellate

        Procedure, the undersigned counsel here certifies that the forgoing Plaintiffs’

        Memorandum In Opposition To Defendant’s Motion To Hold Appeal In Abeyance

        contains 1847 words, not counting those items which may be excluded under Rule

        32(f), and uses a 14 point, Times New Roman proportional font.


                                             /s/ Mark W. Pennak

                                             Mark W. Pennak,
                                             Counsel for Plaintiffs-Appellants




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                                   CERTIFICATE OF SERVICE

              The undersigned counsel hereby certifies that on December 22, 2023, the

        forgoing “Plaintiffs’ Memorandum In Opposition To Defendant’s Motion To Hold

        Appeal In Abeyance” was served on all counsel of record via ECF service.



        s/ Mark W. Pennak
        __________________________
        MARK W. PENNAK
        Counsel for Plaintiffs-Appellants

        Dated: December 22, 2023




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